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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION


JANE DOE et al.,

                  Plaintiffs,

v.                                               CASE NO. 4:23cv114-RH-MAF

JOSEPH A. LADAPO et al.,

          Defendants.
___________________________/


                            ORDER DENYING AN ADDITIONAL
                              PRELIMINARY INJUNCTION


         This action presents a constitutional challenge to a Florida statute and rules

that prohibit transgender minors from receiving specific kinds of widely accepted

medical care. The statute and rules also address, but do not prohibit, analogous

medical care for transgender adults. A preliminary injunction is in place in favor of

specific transgender minors. Four adult plaintiffs—referred to in this order simply

as the plaintiffs—now have moved for a preliminary injunction. This order denies

the motion.

         As a prerequisite to a preliminary injunction, a plaintiff must establish a

substantial likelihood of success on the merits, that the plaintiff will suffer

irreparable injury if the injunction does not issue, that the threatened injury

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outweighs whatever damage the proposed injunction may cause a defendant, and

that the injunction will not be adverse to the public interest. See, e.g., Charles H.

Wesley Educ. Found., Inc. v. Cox, 408 F.3d 1349, 1354 (11th Cir. 2005); Siegel v.

LePore, 234 F.3d 1163, 1176 (11th Cir. 2000) (en banc).

         The plaintiffs’ likelihood of success on the merits is significantly lower now

than it was prior to Eknes-Tucker v. Governor of Alabama, __ F.4th __, No. 22-

11707, 2023 WL 5344981 (11th Cir. Aug. 21, 2023). At oral argument on the

current motion, the plaintiffs asserted their claims survive Eknes-Tucker, including

on the ground that the challenged statute and rules were motivated by

discriminatory animus. Perhaps so. But in the motion and supporting memoranda,

the plaintiffs did not discuss discriminatory animus or cite the relevant cases,

including, for example, Village of Arlington Heights v. Metropolitan Housing

Development Corp., 429 U.S. 252 (1977), and Washington v. Davis, 426 U.S. 229

(1976).

         In any event, the challenged statute and rules do not prohibit adults from

obtaining treatments of the kind the plaintiffs seek. Two plaintiffs will be unable to

obtain hormone treatment from their current providers. But despite the plaintiffs’

contrary assertions, they may be able to obtain the treatment from others. Two

other plaintiffs say their scheduled surgeries were canceled and that the surgeons

said the challenged statute was the reason. But even if the plaintiffs’ testimony



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about this is not inadmissible hearsay—an unlikely proposition—the surgeons’

statements, without a further explanation, do not tie their decision to anything a

preliminary injunction would cure. The record does not show that a preliminary

injunction would affect the surgeons’ willingness to perform the surgeries at this

time.

         In short, the adult plaintiffs have not shown they will suffer irreparable

harm, between now and the date of a final judgment, caused by any part of the

statute or rules as to which the plaintiffs’ challenge is likely to succeed on the

merits.

         For these reasons,

         IT IS ORDERED:

         The second preliminary-injunction motion, ECF No. 115, is denied.

         SO ORDERED on September 11, 2023.

                                          s/Robert L. Hinkle
                                          United States District Judge




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